        Case 5:14-cv-01343-UA-DUTY Document 2 Filed 07/21/14 Page 1 of 1 Page ID #:41

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                                      UNITED ST~r~ PtSJ~3fr\ soURT ERK US DtSTHICT COURT
                                     CENTRAL DI~~L\g~~le~~fJtENTRAL OIST. OF C•' If.
GARY M. GARCIA


                   v.
OCWEN LOAN SERVICING, LLC
                                                                      ORDER RE LEAVE TO FILE ACTION
                                                                    WITHOUT PREPAYMENT OF FILING FEE
                                               DEFENDANT(S).




         IT IS ORDERED that the complaint may be filed without prepayment of the filing fee.

         Further proceedings in this matter are subject to the orders of the Judge to whom the case is assigned.



         Date                                                      United States Magistrate Judge


         IT IS RECOMMENDED that the request of plaintiff/petitioner to file the action without prepayment of the
filing fee be DENIED for the following reason(s):

         l)l Inadequate showing of indigency                       D District Court lacks jurisdiction
         D Legally and/or factually patently frivolous D Immunity as to------------------------
         DOther: ________________________________________________________________________


         Comments: Plaint iff provides the Court with an inadequate showing of
         indigency as he states his monthly wages are $2,830.00, his 2013 tax
         return reflected income in the amount of $26,750, and owns property
         valued at $350,000.  Said amounts appear to e suffi · t t    pay
         the filing fee.



         Date

         IT IS ORDERED that the request of plaintiff to file the a~n without prepay nt of the filing fee is:
                              D GRANTED                           ADENIED (See comments above).



         Date
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CV-73A (01/10)               ORDER RE LEAVE TO FILE ACTION WITHOUT PREPAYMENT OF FILING FEE
